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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


In Re:
         NICOLINE KRISTINE JARAMILLO

                Debtor.                                                CASE NO.: 19-10400-BFK
                                                                       CHAPTER 13


                      OBJECTION TO CONFIRMATION (CHAPTER 13)
                       AND NOTICE OF OBJECTION AND HEARING

TO THE HONORABLE JUDGE BRIAN F. KENNEY:

         Ally Bank, by and through its servicer Ally Servicing LLC (“Ally”), a secured creditor of the

Debtor(s), by counsel, respectfully objects to the Debtor(s) Chapter 13 plan with regard to the 2017

Fiat 500C, VIN 3C3CFFLR4HT570806, on the following grounds, to wit:

         1.     The Debtor filed for relief pursuant to Chapter 13 on February 6, 2019 and

subsequently filed a Chapter 13 Plan (the “Plan”).

         2.     Thomas P. Gorman was appointed Chapter 13 Trustee.

         3.     That the indebtedness due Ally was incurred by the debtors within 910 days prior to

the filing of the Debtors petition herein and, as hereinabove alleged is secured by a purchase money

security interest in the aforesaid vehicle which, upon information and belief, was acquired for the

personal use of the Debtor.


Carl A. Eason, Esquire
Counsel for Ally
Wolcott Rivers Gates
200 Bendix Road, Suite 300
Virginia Beach, VA 23452
bankruptcy@wolriv.com
 (757) 497-6633
VSB #18636
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       4.      That the balance due Ally is $16,773.61 as provided in the Proof of Claim filed on

or about March 1, 2019; the plan should pay this amount as the fully secured claim.

       5.      That the Plan does not provide for interest whatsoever to be paid on Ally’s secured

claim; interest should be in accordance with that allowed by Till v. SCS Credit Corp., 541 U.S. 465

(2004), a minimum of 8.5%.

       6.      Ally has been unable to verify that insurance is currently being maintained on the

vehicle involved herein.

       WHEREFORE, Ally objects to the Chapter 13 plan and moves this Court to deny

confirmation of the same.

                                      ALLY BANK
                                      BY AND THROUGH ITS SERVICER
                                      ALLY SERVICING LLC


                                      By:           /s/ Carl A. Eason
                                                     Of Counsel
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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

In re:
         NICOLINE KRISTINE JARAMILLO
         (SSN -1025)

             Debtor,
                                                                            CASE NO.: 19-10400-BFK
                                                                            CHAPTER 13

         1607 Anderson Road
         McLean, VA 22102


                              NOTICE OF OBJECTION AND HEARING

        Ally Bank, by and through its servicer Ally Servicing LLC has filed papers with the Court objecting
to your Chapter 13 plan.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

        If you do not want the court to deny confirmation of your plan, or if you want the court to consider
your views on the objection, you or your attorney must:

                :       Send to the parties listed below at least 14 days written notice of a hearing, which
                        may be set on any regularly-scheduled objection day of the judge assigned in the
                        case. If necessary, you may obtain a list of such dates from the court's website at
                        www.vaeb.uscourts.gov under the link for "Calendars." The original notice must
                        be filed with the clerk. If you are not represented by an attorney, you may instead
                        file with the clerk a written request for hearing. If you mail your request for hearing
                        to the court for filing, you must mail it early enough so the court will receive it on
                        or before the date stated above. The address of the clerk's office is as follows:

                                         Clerk of Court
                                         United States Bankruptcy Court
                                         200 S. Washington Street
                                         Alexandria, VA 22314

                        You will be notified by the clerk of the hearing date and will be responsible for
                        sending notice of hearing to the parties listed below.

                :       File with the court, at the address shown above, a written response with supporting
                        memorandum as required by Local Bankruptcy Rule 9013-1(H). Unless a written
                        response and supporting memorandum are filed and served by the date
                        specified, the court may deem any opposition waived, treat the
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                          motion/objection as conceded, and issue an order granting the requested relief
                          without further notice or hearing. If you mail your response to the court for
                          filing, you must mail it early enough so the court will receive it on or before the
                          date stated above. You must also send a copy to the persons listed below.

                 :        Attend the hearing on the Objection scheduled to be held on April 18, 2019
                          at 1:30 p.m. at United States Bankruptcy Court, 200 South Washington
                          Street, Courtroom I, 2nd Floor, Alexandria, VA 22314. If no timely response
                          has been filed opposing the motion/objection, the court may grant the relief
                          without holding a hearing.

                 A copy of any written response must be sent to:

                          Carl A. Eason, Esquire
                          200 Bendix Road, Suite 300
                          Virginia Beach, VA 23452

                          Ashvin Pandurangi, Esquire
                          211 Park Ave.
                          Falls Church, VA 22046

                          Thomas P. Gorman, Trustee
                          300 N. Washington Street, Ste. 400
                          Alexandria, VA 22314

        If you or your attorney do not take these steps, the Court may decide that you do not oppose the
objection to confirmation.

Date:   April 11, 2019                                             /s/ Carl A. Eason
                                                             Carl A. Eason, Esquire
                                                             200 Bendix Road, Suite 300
                                                             Virginia Beach, VA 23452
                                                             (757) 497-6633
                                                             Virginia State Bar No. 18636
                                                             Counsel for Ally

                                       CERTIFICATION OF SERVICE

         I hereby certify that I have on this 11th day of April, 2019 , mailed or hand-delivered or electronically
sent a true copy of the foregoing Notice of Objection and Hearing to the parties listed on the attached service
list.

                                   Ashvin Pandurangi, Esquire
                                   Counsel for Debtor
                                   211 Park Ave.
                                   Falls Church, VA 22046
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                       Thomas P. Gorman, Trustee
                       300 N. Washington Street, Ste. 400
                       Alexandria, VA 22314

                       Nicoline Kristine Jaramillo
                       1607 Anderson Road
                       McLean, VA 22102


                                                     /s/ Carl A. Eason
